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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 OI EUROPEAN GROUP B.V.,

                Plaintiff,

        v.                                                     C.A. No. 19-mc-290-LPS

 BOLIVARIAN REPUBLIC OF VENEZUELA,


                Defendant.


                             JOINT JUNE 1, 2020 STATUS REPORT

       Pursuant to the Court’s May 26, 2020, order directing the parties to file a joint status report

by June 1, 2020 on how this case should proceed, Plaintiff OI European Group B.V. (“OIEG”) and

Defendant Bolivarian Republic of Venezuela (“Venezuela”) submit this joint status report.

       On November 4, 2019, OIEG moved for a writ of attachment fieri facias on the ground that

the Court’s decision in Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela, 333 F. Supp.

3d 380 (D. Del. 2018) (the “Crystallex Asset Proceeding”), had resolved the issue of whether

PDVSA is the alter ego of Venezuela. D.I. 2. On December 12, 2019, this Court denied OIEG’s

motion for attachment, finding that collateral estoppel did not apply.          D.I. 26 at 14 (the

“Memorandum Order”).

       The Court’s order stayed further action in this proceeding “until the completion of the

Supreme Court proceedings in the Crystallex Asset Proceeding or further order of this or any other

Court lifting the stay.” D.I. 26 at 17. On December 23, 2019, OIEG moved to reconsider so much

of the Memorandum Order as denied OIEG’s motion for an attachment. D.I. 27. Venezuela filed

a brief in opposition to the motion for reconsideration on January 6, 2020. D.I. 30. No decision

has been entered with respect to the motion for reconsideration.
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       On May 18, 2020, the Supreme Court denied the cert petition with respect to the Crystallex

Asset Proceeding. See Order List, May 18, 2020.

         I.    OIEG’s Position

       In light of the Supreme Court’s denial of the cert petition, the stay of this proceeding has

expired by its terms.

       The Court conducted a status conference on this and other Venezuela matters on November

13, 2019. It previously had granted OIEG’s request for expedited review, but its status conference

scheduling order provided that “[t]he Court’s intent is NOT to hear argument on the pending

motions in any of these cases but instead to discuss how and on what schedule the Court should

proceed to resolve any and all disputes, if indeed it should proceed at all.” D.I. 7. Neither party

saw that conference as a hearing on the attachment motion, as Venezuela later filed a request for

oral argument. See D.I. 19. Nevertheless, the Court denied the motion without a hearing.

       OIEG submits that the Court should allow the motion for reconsideration and thereafter (1)

in the event that the Court adopts OIEG’s argument that collateral estoppel should apply in this

case, grant OIEG’s attachment motion and order that OIEG be entitled to a writ of attachment,

subject only to a restriction on the enforcement thereof until approval from OFAC is obtained, or

(2) in the event the Court rejects the argument that collateral estoppel should apply and simply

vacates the order pending a review of evidence concerning current circumstances, that the parties

submit a joint proposed scheduling order within ten (10) days after the Court issues its ruling on

the motion for reconsideration. In neither event should the Court condition grant or issuance of

the writ on action by OFAC. Any limitations imposed by the Court on the judicial remedy should

merely be as to levy and execution.




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         II.   Venezuela’s Position

       Venezuela agrees that OIEG’s motion for reconsideration is fully briefed and ready for the

Court’s decision. Venezuela requests that, for the reasons set forth in its brief in opposition to the

motion (D.I. 30), the motion should be denied. There was no unfairness in the procedures by

which the Court denied OIEG’s original motion for an attachment—indeed, they were the

expedited procedures that OIEG itself requested. Nor is there any basis to transform that motion,

which relied entirely on collateral estoppel (D.I. 3 at 9), into a new motion on a new theory

supported by evidence that OIEG apparently now wishes to submit. If OIEG wishes to bring such

a new motion, it should proceed in accordance with ordinary motion procedures.

       If the motion for reconsideration is granted, however, Venezuela submits that no writ of

attachment should issue unless and until OIEG applies for and obtains a license from the Office of

Foreign Asset Control, as required by the Venezuela Sanctions Regulations. See 31 C.F.R. §

591.407.



       The parties are available at the Court’s convenience should Your Honor have any

questions.



Dated: June 1, 2020                               Respectfully submitted,

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